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             IN THE UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff,                    )
                                          )
      v.                                  ) Case No. CR 18-14-GF-BMM
                                          )
STANLEY PATRICK WEBER,                    )
                                          )
            Defendant.                    )



ACKNOWLEDGMENT AND ACCEPTANCE OF TERMS OF ADMISSION

Comes now attorney Harvey A. Steinberg. Esq., pro hac vice counsel for Defendant
Stanley Patrick Weber, and files this acknowledgment and acceptance of the terms
of admission to this court, to wit:

   1. Undersigned counsel is licensed and in good standing to practice law in the
      state court of Colorado and in the federal court for the District of Colorado.
      Undersigned counsel has moved for pro hac vice admission in the United
      States District Court for the District of Montana for the purposes of providing
      representation to the Defendant in this case.
   2. This court has granted undersigned counsel’s pro hac vice admission, subject
      to the conditions that undersigned counsel must do his own work, do his own
      writing, sign his own pleadings, motions, briefs, and other documents served
      or filed by him, and, if designated as co-lead counsel, must appear and
      participate personally in all proceedings before the court.
   3. Undersigned counsel Harvey A. Steinberg hereby acknowledges these
      obligations and accepts them as a condition of admission pro hac vice.

Dated this 14th day of March, 2018.
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                              /s/ Harvey A. Steinberg
                              Harvey A. Steinberg
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                        CERTIFICATE OF SERVICE

I hereby certify that on the 15th day of March, 2018, I electronically filed the
foregoing motion with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to all parties entered in the case.

                              /s/ Stacey Lopez
                              Stacey Lopez, for Harvey A. Steinberg
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